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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

  KEVIN B. MORNINGSTAR,

             Plaintiff,

  V.                                                       Case No.: 22-cv-61905-RAR

  CITY OF HOLLYWOOD,

        Defendant.
  ___________________________/


                   DEFENDANT’S COUNTER-DEPOSITION DESIGNATIONS

             Defendant CITY OF HOLLYWOOD, through its attorneys, serves its counter-

  designations and objections to Plaintiff’s deposition designations as follows.

       I.      PLAINTIFF

                 a. Defendant objects to proceeding to trial with Plaintiff’s testimony read into the

                     record.

       II.     CANDI KOSER

                 a. Counter-Designations

                           i. Page 4, Lines 14 – 15, 17

                           ii. Page 7, Lines 15 – 21

                          iii. Page 8, Lines 23 – 24

                          iv. Page 9, Lines 5 – 6, 10 – 15, 18 – 22

                           v. Page 14, Lines 14 – 24

                          vi. Page 15, Lines 23 – 25

                          vii. Page 16, Lines 1 – 19, 22 – 25

                      viii. Page 17, Lines 1 – 3, 20 (starting with “We were…”) – 25
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                ix. Page 19, Line 22 (starting with “So just to make sure I…”) – 25

                 x. Page 20, Lines 24 – 25

                xi. Page 21, Lines 1 – 6, 8 – 14

                xii. Page 23, Lines 8 – 10

               xiii. Page 24, Lines 4 – 5

               xiv. Page 27, Lines 3 – 24

                xv. Page 28, Lines 10 – 25

               xvi. Page 29, Lines 6 – 7, 12, 15 – 19

               xvii. Page 30, Lines 2 – 15

              xviii. Page 31, Lines 18 (starting with “..on that first date…”) – 20, 24 – 25

               xix. Page 36, Lines 16, 21 – 25

                xx. Page 37, Lines 5 – 7

               xxi. Page 38, Lines 22 – 25

               xxii. Page 39, Lines 1 – 7

              xxiii. Page 40, Lines 1 – 8, 11 – 15, 21

              xxiv. Page 41, Lines 1 – 6

               xxv. Page 49, Lines 12 – 13, 22 – 25

              xxvi. Page 50, Lines 8 – 18

             xxvii. Page 52, Lines 3 (Staring at “Once you guys got…”) – 6

             xxviii. Page 53, Lines 1 – 2

           b. Objections

                  i. Page 26, Lines 8 – 9 (FRE 401)

                 ii. Page 32, Lines 23 – 25, Page 33, Lines 1 – 16 (FRE 802)


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                iii. Page 34, Lines 20 – 24 (FRE 401)

     III. DETECTIVE RYAN MCKIRCHY

           a. Counter-Designations

                  i. Page 5, Lines 1 – 8, 12 – 25

                 ii. Page 6, Lines 1 – 5

                iii. Page 9, Lines 1 – 20

                iv. Page 10, Lines 8 – 15, Line 25

                 v. Page 11, Lines 10 – 25

                vi. Page 12, Lines 1 – 8, 16 – 18

                vii. Page 16, Lines 1 – 25

               viii. Page 17, Lines 11 – 18

                ix. Page 22, Lines 1 – 20

                 x. Page 24, Lines 6 – 25

                xi. Page 25, Lines 1– 6

                xii. Page 28, Lines 19 – 23

               xiii. Page 31, Lines 2 –3

               xiv. Page 33, Lines 13–19

                xv. Page 34, Lines 15 (Starting at “What is the procedure…”) – 25

               xvi. Page 35, Lines 1–2, 23 – 25

               xvii. Page 36, Lines 18 – 25

              xviii. Page 37, Lines 1 – 24

               xix. Page 54, Lines 5 – 21

                xx. Page 55, Lines 1 – 4, 10 – 14


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               xxi. Page 56, Lines 1 – 8

               xxii. Page 57, Lines 16 – 25

              xxiii. Page 58, Lines 1 – 4, 19 – 25

           b. Objections

                  i. Page 51, Lines 3 – 12 (FRE 602)

                 ii. Page 51, Lines 21–25, Page 52, Lines 1 –4 (FRE 401)

     IV. OFFICER JASON TIMMONS

           a. Counter-Designations

                  i. Page 5, Lines 1 – 25

                 ii. Page 6, Lines 1 – 16, 17 (Starting at “Can you be..”) – 25

                iii. Page 7, Lines 19 – 25

                iv. Page 11, Lines 21 – 25

                 v. Page 12, Lines 1 –5

                vi. Page 13, Lines 24 – 25

                vii. Page 35, Lines 20 – 25

               viii. Page 36, Line 1

           b. Objection

                  i. Page 16, Lines 21 – 15 (FRE 401)




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  Dated: January 2, 2024             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 2, 2024, the foregoing document was

  electronically filed with the Clerk of the Court using CM/ECF. I FURTHER CERTIFY that

  the foregoing document is being served this day on all counsel of record via transmission of

  Notices of Electronic Filing generated by CM/ECF.



                                            /s/ Ashley N. Donnell
                                            Attorney




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